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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

BRIAN MCNEAL                           * CIVIL ACTION
                                       *
VERSUS                                 * NO. 20-312-JWD-EWD
                                       *
LOUISIANA DEPARTMENT OF                * JUDGE JOHN W. deGRAVELLES
PUBLIC SAFETY & CORRECTIONS, and *
JAMES LEBLANC                          * MAGISTRATE JUDGE
                                       * ERIN WILDER-DOOMES
****************************************
      MEMORANDUM IN SUPPORT OF SECOND MOTION TO DISMISS FOR
    FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

       MAY IT PLEASE THE COURT:

       Defendants, the State of Louisiana, through the Department of Public Safety & Corrections

(“DPSC”) and Secretary James M. LeBlanc, respectfully move this Honorable Court for dismissal

of this lawsuit pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

I.     Standard of Review

       Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a “short
       and plain statement of the claim showing that the pleader is entitled to relief.” As
       the Court held in [Bell Atlantic Corp. v.] Twombly, 550 U.S. 544, 127 S.Ct. 1955,
       167 L.Ed.2d 929, the pleading standard Rule 8 announces does not require “detailed
       factual allegations,” but it demands more than an unadorned, the-defendant-
       unlawfully-harmed-me accusation. Id., at 555, 127 S.Ct. 1955 (citing Papasan v.
       Allain, 478 U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209 (1986)). A pleading that
       offers “labels and conclusions” or “a formulaic recitation of the elements of a cause
       of action will not do.” 550 U.S., at 555, 127 S.Ct. 1955. Nor does a complaint
       suffice if it tenders “naked assertion[s]” devoid of “further factual enhancement.”
       Id., at 557, 127 S.Ct. 1955.

       To survive a motion to dismiss, a complaint must contain sufficient factual matter,
       accepted as true, to “state a claim to relief that is plausible on its face.” Id., at 570,
       127 S.Ct. 1955. A claim has facial plausibility when the plaintiff pleads factual
       content that allows the court to draw the reasonable inference that the defendant is
       liable for the misconduct alleged. Id., at 556, 127 S.Ct. 1955. The plausibility
       standard is not akin to a “probability requirement,” but it asks for more than a sheer
       possibility that a defendant has acted unlawfully. Ibid. Where a complaint pleads
       facts that are “merely consistent with” a defendant's liability, it “stops short of the

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         line between possibility and plausibility of ‘entitlement to relief.’ ” Id., at 557, 127
         S.Ct. 1955 (brackets omitted). 1

II.      Procedural History.

         The Plaintiff, Brian McNeal, filed the instant lawsuit on May 22, 2020. Doc. 1. In the

Original Complaint, the Plaintiff sued DPSC under the ADA and Rehabilitation Act, and sought

injunctive relief and nominal monetary relief. Id. at ¶10-11 (twice naming DPSC as a Defendant);

¶60 (delineating relief requested). The Defendants moved to dismiss Plaintiff’s suit for lack of

jurisdiction and for failure to state a claim upon which relief can be granted. Doc. 11. The

Defendants argued the Plaintiff lacked standing to sue for injunctive relief and Plaintiff’s claims

for money damages are untimely. Id. Plaintiff opposed the Motion. Doc. 15. This Honorable

Court granted the Motion to Dismiss. Doc. 25.

         Plaintiff’s claim for nominal damages is the only one remaining at this stage, and the only

one at issue in this Motion. This Honorable Court found that claim was untimely. Doc. 25, p. 29.

Leave to amend was granted to attempt to plead facts supporting the alleged timeliness of

Plaintiff’s claims. Id. This Honorable Court explained:

         [T]he Court applied the one-year limitations period in part because Plaintiff failed
         to allege sufficient facts to establish that his action was made possible by the
         ADAAA. However, the Court finds that it will act according to the above “wise
         judicial practice” and grant Plaintiff at least one opportunity to amend the operative
         complaint to allege facts about his alleged disability that are sufficient to obtain the
         four-year limitations period. Accordingly, the Court grants Plaintiff leave to amend
         the complaint to cure the above deficiencies.

Id. at p. 30. The Plaintiff filed the First Amended Complaint, which attempts to cure the

deficiencies identified by this Honorable Court. Doc. 28-1.




1
 Ashcroft v. Iqbal, 556 U.S. 662, 677–78, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007).

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         The only claim in Plaintiff’s First Amended Complaint is a claim against DPSC for

“Compensatory damages in an amount not to exceed $20.” Doc. 28.1, ¶68(B). 2 The only issue

is whether the Plaintiff pled the sufficient facts in the Amended Complaint to “to establish that his

action was made possible by the ADAAA.” Doc. 25, p. 30. As explained below, the Plaintiff

failed to meet his burden.

III.     Plaintiff failed to plead sufficient facts to show that his action was made possible by
         the ADAAA.

         Indisputably, the Plaintiff’s law suit, which was filed more than one year after the alleged

ADA violation, is prescribed unless he can show his claims were “made possible” by the ADAAA.

In order to benefit from the four year limitations period applicable to such claims, the Plaintiff

must show his ADA and RA claims were “made possible” by the 2008 amendments to the ADA. 3

The primary question is whether the Plaintiff would have qualified as disabled under the pre-

ADAA interpretation of “disability.” 4 When granting Defendants’ Motion to Dismiss and giving

the Plaintiff leave to amend on this issue, this Honorable Court explained:

         Plaintiff fails to allege facts regarding the nature of his episodic condition, the
         particular effect on his life, or the history and timing of his episodes. Without
         alleging more facts in support of the contention that the episodic nature of
         Plaintiff’s diagnosis would have excluded it from ADA protection pre-ADAAA,
         the four-year prescriptive period does not apply.

Doc. 25, p. 26-27 (footnote omitted). The Plaintiff purports to have amended his allegations

regarding his alleged disability. The addition of more “legal conclusions masquerading as factual

conclusions will not suffice to prevent a motion to dismiss.” 5




2
  The Plaintiff also lists as “relief requested” the phrases “declaratory relief” and “other and further relief, at law or in
equity, to which Plaintiff may be justly entitled”. See Doc. 28-1, ¶68. Neither of those phrases provides the
Defendants notice of the nature of the claim or the grounds upon which it rests.
3
  Guy v. LeBlanc, 400 F. Supp. 3d 536, 541 (M.D. La. 2019).
4
  Id.
5
  Fernandez-Montes v. Allied Pilots Ass'n, 987 F.2d 278, 284 (5th Cir. 1993).

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        In his original Complaint, the Plaintiff claimed he had a “mental impairment [which]

substantially limited his life activities including maintaining steady employment and housing.” 6

He alleged “his mental health diagnoses include Substance Induced Psychosis and Stimulant and

Opiate Use Disorders.” 7

        The Amended Complaint contains the same facts. The Plaintiff alleges he “suffered from

a mental impairment”, which “substantially limited his life activities including maintaining steady

employment and housing.” 8 Plaintiff also continues to allege “his mental health diagnoses include

Substance Induced Psychosis and Stimulant and Opiate Use Disorders.” 9 The Plaintiff now

additionally alleges “Mr. McNeal’s symptoms are episodic in nature, as he experiences mood

swings, hallucinations, and similar mental effects that typically only last for a short period of

time.” 10 How those symptoms effect the Plaintiff’s ability to “maintain steady employment and

housing” is unknown. No facts are pleaded.

        The Plaintiff still fails to meet his burden of pleading that he had a disability under the

ADAAA that was not recognized as a disability under the prior version of the ADA.

        Though the elements of a prima facie case remain the same under the ADAAA,
        Congress intended to broaden the meaning and coverage of disability. Neely v.
        PSEG Tex., L.P., 735 F.3d 242, 245 (5th Cir.2013). However, the Fifth Circuit
        expressly held that despite the broader definition, the burden remains on the
        plaintiff to first prove a disability. Id. “In other words, though
        the ADAAA makes it easier to prove a disability, it does not absolve a party from
        proving one.” Id. 11

The allegation that the Plaintiff “suffered from a mental impairment”, which “substantially limited
                                                                                      12
his life activities including maintaining steady employment and housing”                   is a conclusory


6
  Rec. Doc. 1, ¶17.
7
  Rec. Doc. 1 ¶18.
8
  Doc. 28-1, ¶16-17.
9
  Id. at ¶18.
10
   Doc. 28-1, ¶23.
11
   Willis v. Noble Env't Power, LLC, 143 F. Supp. 3d 475, 480 (N.D. Tex. 2015).
12
   Doc. 28-1, ¶16-17.

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allegation. Doc. 25, p. 26. This Honorable Court “cannot rely on a legal conclusion.” Id. The

Plaintiff’s conclusory allegation that he was unable to “maintain steady employment and housing”

is insufficient to meet his burden of pleading. The Plaintiff fails to explain how his alleged

disability and the episodic manifestation of the symptoms thereof render him unable to “maintain

steady employment and housing.”

        With regard to working,

        [S]ubstantially limits means significantly restricted in the ability to perform either
        a class of jobs or a broad range of jobs in various classes as compared to the average
        person having comparable training, skills and abilities. The inability to perform a
        single, particular job does not constitute a substantial limitation in the
        major life activity of working. 13

The Plaintiff offers nothing with regard to his alleged inability to maintain steady employment or

housing. No facts whatsoever are pleaded that connect his alleged occasional symptoms with the

conclusion that the occasional manifestation of his symptoms “substantially limits” his life

activities. In Plaintiff’s original complaint he “fail[ed] to allege facts regarding the qualitative

nature of his addiction or the effect his addiction had on his ability to work. Similarly, Plaintiff

fail[ed] to allege facts regarding the nature of his episodic condition, the particular effect on his

life, or the history and timing of his episodes.” Doc. 25, p. 26. The Plaintiff still fails to plead

those facts.

        Under the prior version of the ADA, drug addiction and alcoholism were considered

disabilities when the conditions substantially limited, or were perceived by the employer as

substantially limiting, a major life function. 14 As the Fifth Circuit explained, “The determination

of whether an individual has a disability is not necessarily based on the name or diagnosis of the



13
  Rodriguez v. Alcoa Inc., 805 F. Supp. 2d 310, 317 (S.D. Tex. 2011) (quoting 29 C.F.R. § 1630.2(j)(3)(i)).
14
  Zenor v. El Paso Healthcare Sys., Ltd., 176 F.3d 847, 859 (5th Cir. 1999) (citing Burch v. Coca–Cola Co., 119 F.3d
305 (5th Cir.1997)).

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impairment the person has, but rather on the effect of that impairment on the life of the

individual.” 15 The Plaintiff alleges, albeit conclusorily, that his condition substantially impaired

major life activities, which means that it was a qualifying disability under the prior version of the

ADA. The Plaintiff does not plead facts explaining why his allegedly “episodic” condition was

not a disability under the prior version of the ADA. Per this Honorable Court’s prior ruling, the

Plaintiff’s failure to plead such facts supports dismissal with prejudice.

       IV.      Conclusion and relief requested.

             Considering the foregoing, the Plaintiff’s lawsuit should be dismissed. Plaintiff failed to

plead facts showing he has a claim that was “made possible” by the ADAAA and, therefore, his

claims are prescribed.

                                                        Respectfully Submitted,

                                                        JEFF LANDRY
                                                        ATTORNEY GENERAL

                                               BY:      s/Phyllis E. Glazer
                                                        PHYLLIS E. GLAZER (LSBA #29878)
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15
     Id at 860 (citing Burch, 119 F.3d at 315, quoting 29 C.F.R. Pt. 1630, App).

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